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UNITED STA TES DISTRICT CoURT
WESTERN DISTRICT OF TENNESSEE 8551‘:'1.‘.\“ 12

  

 

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"' "" "- j l !I'HS
PERRY .I. LIPSEY, JUI)GMENT IN A CIVIL CASE
Plaintiff,
v.
CORRECTIONS CORPORATION CASE NO: 04-2791-B
OF AMERICA, et al.,
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of Dismissal
entered on May 11, 2005, this cause is hereby dismissed.

AP ()VED:

®ANIEL BREEN "`
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/ ROBERT a nl motch
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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:04-CV-02791 Was distributed by faX, mail, or direct printing on
May ]7, 2005 to the parties listed.

 

Perry Lipsey
FCC-FORREST CITY
19436-076

P.O. Box 9000

Forrest City, AR 72336

Honorable J. Breen
US DISTRICT COURT

